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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

________________________________________
SYLVIA TRAFFICANTE                               :
                                                 :
        vs.                                      :
                                                 :   NO. 2:20-cv-05382
HOMEGOODS BROOMALL, PA,                          :
HOMEGOODS, INC.                                  :   HON. GENE E.K. PRATTER, U.S.D.J.
THE TJX COMPANIES, INC., AND                     :
RICHARDS HOMEWARES, INC.                         :


                                         ORDER

        AND NOW, this ___________ day of _______________________, 2022, upon

consideration of the Motion for Summary Judgment of Defendant Richards Homewares, Inc. and

any response thereto, it is hereby ORDERED and DECREED that the Motion for Summary

Judgment is GRANTED and any and all of Plaintiff’s claims as to Richards Homewares, Inc. are

hereby dismissed WITH PREJUDICE.



                                          BY THE COURT


                                          _______________________________
                                                                        , J.




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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

________________________________________
SYLVIA TRAFFICANTE                                    :
                                                      :
        vs.                                           :
                                                      :   NO. 2:20-cv-05382
HOMEGOODS BROOMALL, PA,                               :
HOMEGOODS, INC.                                       :   HON. GENE E.K. PRATTER, U.S.D.J.
THE TJX COMPANIES, INC., AND                          :
RICHARDS HOMEWARES, INC.                              :


                       MOTION FOR SUMMARY JUDGMENT OF
                      DEFENDANT RICHARDS HOMEWARES, INC.

        Pursuant to Federal Rules of Civil Procedure 56, Defendant Richards Homewares, Inc.

(“Richards”) moves to dismiss all counts asserted against them in the Complaint of Plaintiff Sylvia

Trafficante (“Plaintiff”). As set forth more fully in the accompanying memorandum of law, it is

respectfully submitted that the Court must dismiss Plaintiff’s products liability claims against

Richards Homewares, Inc. as a matter of law because Plaintiff has failed to establish the product

at issue was defective and/or causation by way of expert testimony.

        Furthermore, it is submitted that dismissal is likewise required of Plaintiff’s unproven

negligence and breach of warranty claims because Plaintiff has failed to prove breach or causation,

and has failed to prove that the subject product was not safe or fit for the particular use for which

it was made.

        WHEREFORE, for all the reasons set forth in the accompanying memorandum of law in

support of this Motion, Defendant Richards Homewares, Inc. respectfully requests that the Court

grant its Motion for Summary Judgment and issue an order dismissing all claims against them,

with prejudice.




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                                          Respectfully submitted,

Dated: June 24, 2022                      GOLDBERG SEGALLA LLP

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                                          Avery J. Quiles, Esq. (ID: 329616)
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

________________________________________
SYLVIA TRAFFICANTE                         :
                                           :
        vs.                                :
                                           :   NO. 2:20-cv-05382
HOMEGOODS BROOMALL, PA,                    :
HOMEGOODS, INC.                            :   HON. GENE E.K. PRATTER, U.S.D.J.
THE TJX COMPANIES, INC., AND               :
RICHARDS HOMEWARES, INC.


MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
               PURSUANT TO FED. R. CIV. P. 56 OF
           DEFENDANT RICHARDS HOMEWARES, INC.




                                           Respectfully submitted,

Dated: June 24, 2022                       GOLDBERG SEGALLA LLP

                                           /s/ Sean T. Stadelman
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I.       PRELIMINARY STATEMENT

         To prevail on any of her claims, Plaintiff must prove that Richards Homewares, Inc.’s

product was defective and the alleged defect caused Plaintiff to suffer injury. Proof of causation

in a products liability case requires Plaintiff to present admissible expert testimony establishing

defect and causation. As a result of this Court’s ruling on Richards’ simultaneously filed Daubert

Motion, Plaintiff is unable to prove defect and/or causation because she has no expert permitted

to testify as to the defect that caused the subject incident, or whether the instructions failed to

warn of potential hazards and caused the accident. Without an expert establishing defect and

causation on Plaintiff’s products liability claim, Plaintiff will be unable to prove causation or

breach on her negligence claim. Moreover, without expert testimony that the subject product was

not safe or fit for the particular use for which it was made, Plaintiff will be unable to prove her

breach of warranty claim. Without such proof, there is no dispute of material fact as to the lack

of defect and/or causation and Richards is entitled to judgment as to all of Plaintiff’s claims.


II.      STATEMENT OF UNDISPUTED FACTS

      1. This product’s liability matter arises from Plaintiff, Sylvia Trafficante, purchasing a

shower organizer from Home Goods’ Broomall, PA location, and attempting to assemble it on

October 8, 2018. See A True and Correct Copy of Plaintiff’s Complaint attached hereto as

“Exhibit A.”

      2. The shower organizer was a Richards product: Columbia E-Satin Nickel Tension Pole

Caddy with three shelf Shower Organizer. Plaintiff alleges that on October 8, 2018, she was

assembling/installing the shower organizer into the corner of her bathtub, “when suddenly and

without waning or notice, the Product violently sprung at her face causing … injuries to her left

eye.” See Id. at ¶ 29.


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       3. In furtherance of her claims, Plaintiff has retained experts Matthew Wagenhofer, PhD,

PE, CFEI from Forcon International, and Jason S. Kiddy, PhD, PE, CFEI from Aither Forensic

Engineering to opine on liability. See Matthew Wagenhofer’s Expert Report attached as “Exhibit

B;” and Jason S. Kiddy’s Expert Report attached as “Exhibit C.”

       4. As fully explained in Richards’ simultaneously filed Daubert Motion, both Wagenhofer

and Kiddy utilized defectively unreliable methodologies in testing and based their conclusions on

false assumptions of fact that are not supported by the evidence of record.

       5. Thus, per Moving Defendant’s Daubert Motion their opinions are not reliable and must

be excluded. Without experts plaintiff is unable to establish defect and/or causation, which is

fatal to all of her claim.

       6. Accordingly, Defendant Richards Homewares, Inc. moves for Summary Judgment to

dismiss all of Plaintiff’s claims as a matter of law.

III.      LEGAL ARGUMENT


          A.     SUMMARY JUDGMENT STANDARD

          Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A dispute is genuine if the “evidence is such that a reasonable jury could return a verdict for

the nonmoving party,” and a fact is material if it “might affect the outcome of the suit under the

governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

          While the movant has the initial burden of demonstrating the absence of genuine issues of

material fact, the non-movant must then establish the existence of each element on which it bears

the burden of proof. Watson v. Eastman Kodak Company, 235 F.3d 851, 858 (3d Cir. 2000). In

doing so, the non-moving party must show more than the “mere existence of a scintilla of


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evidence” in support of its position. Anderson, 477 U.S. at 252. A plaintiff cannot avert summary

judgment with speculation or by resting on the allegations in [her] pleadings, but rather must

present competent evidence from which a jury could reasonably find in his favor. Ridgewood

Board of Education v. N.E. for M.E., 172 F.3d 238, 252 (3d Cir. 1999); Woods v. Bentsen, 889

F.Supp. 179, 184 (E.D.Pa. 1995).

         Judgment will be entered against a party who fails to sufficiently establish any element

essential to that party’s case and who bears the ultimate burden of proof at trial. See Celotex Corp.

v. Catrett, 477 U.S. 317, 322 (1986). “Where the record taken as a whole could not lead a rational

trier of fact to find for the non-moving party, there is no ‘genuine issue for trial.’” Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation omitted).

         B.     PLAINTIFF HAS PROVIDED NO EXPERT TESTIMONY AS TO
                DEFECT AND/OR CAUSATION WHICH IS REQUIRED TO PROVE
                HER PRODUCTS LIABILITY CLAIMS

         In order to prevail on a products liability claim in Pennsylvania under a theory of strict

liability, a plaintiff must prove that: (1) the product was defective; (2) the defect that caused the

injuries existed when the product left the seller's hands; and (3) the defect caused the harm.

Stephens v. Paris Cleaners, Inc., 885 A.2d 59, 65 (Pa. Super. Ct. 2005) (“Proof of causation is a

necessary element of a plaintiff’s prima facie case in a products liability action as well as in a

negligence action.”). In a products liability case involving complex issues of causation not

readily apparent to the finder of fact, the plaintiff must present admissible expert testimony to

prove causation. See Heller v. Shaw Indus., Inc., 167 F.3d 146, 153 (3d Cir. 1999). If her expert

testimony cannot support both general and specific causation, summary judgment for the

defendant must be granted. Soldo v. Sandoz Pharms. Corp., 244 F. Supp. 2d 434, 525 (W.D. Pa.

2003).



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        Here, as a result of this Court’s granting Richards’ Daubert Motion, Plaintiff has

presented no expert testimony as to defect and/or causation. Proving causation through expert

testimony is a necessary element of a plaintiff’s prima facie case in a products liability action.

Stephens, 885 A.2d at 69 (Pa. Super Ct. 2005). This is especially true in products liability actions

involving complex issues of causation such as the present action regarding analysis of the

mechanics and physics of tension rods and its interior spring components. See Heller, 167 F.3d at

153 (3d Cir. 1999).

        The instant case resembles that of Shannon v. Hobart, 2011 U.S. Dist. LEXIS 12312

(2011), where a Plaintiff sustained injuries from using a commercial food mixer. Plaintiff

provided expert testimony that claimed that the mixer’s defective design caused plaintiff’s

injuries. In response, defendant manufacturer filed a Daubert Motion claiming that plaintiff’s

expert’s conclusions were not based on reliable methodologies. The Court granted defendant’s

Daubert Motion, concluding that plaintiff’s expert based his conclusions on his own speculation

rather than reliable methodologies. Following the granting of its Daubert Motion, defendant filed

a Motion for Summary Judgment claiming that since the Court had excluded plaintiff’s expert’s

testimony as to causation, plaintiff provided no expert testimony proving causation as required in

Pennsylvania strict products liability actions. The Court held that the defendant manufacturer

was entitled to summary judgment on plaintiff’s strict liability claims because the expert’s

conclusions that the mixer was defectively designed was not based on any reliable methodology

and plaintiff had provided no other expert testimony proving causation.

        Since Plaintiff, Sylvia Trafficante, has claimed strict products liability for deign defect

and failure to warn, she must provide expert testimony as to both liability and causation. As a

result of this Honorable Court granting Richards’ Daubert Motion, Plaintiff has failed to present



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the requisite expert testimony necessary to establish either. Accordingly, Richards is entitled to

summary judgment as a matter of law and Plaintiff’s claims for strict products liability must be

dismissed. See Soldo 244 F. Supp. 2d at 525 (W.D. Pa. 2003).

        C.     PLAINTIFF IS UNABLE TO ESTABLISH CAUSATION WHICH IS
               FATAL TO HER NEGLIGENCE CLAIM

        To succeed on their products liability and negligence claims, plaintiffs will, in addition to

other things, have to prove causation. Arch v. Am. Tobacco Co., 175 F.R.D. 469, 488 (E.D. Pa.

1997). Proof of causation is a necessary element of a plaintiff’s prima facie case in a products

liability action as well as in a negligence action. Stephens v. Paris Cleaners, Inc., 885 A.2d 59,

65 (Pa. Super. Ct. 2005). Pennsylvania follows the general rule that a Plaintiff, in order to

recover, must establish that a particular defendant’s negligence was the proximate cause of her

injuries. Skipworth ex rel. Williams v. Lead Indus. Ass’n., 690 A.2d 169, 172 (Pa. 1997).

        Here, pursuant to the granting of Richards’ Daubert Motion, Plaintiff has provided

insufficient evidence in furtherance of her claims that the alleged defective design of the subject

organizer or the instructions’ alleged failure to warn proximately caused her injuries.

Furthermore, Plaintiff has provided insufficient evidence establishing that Richards’ conduct

and/or omissions were a proximate cause of her injuries. Likewise, Plaintiff is unable to meet her

evidentiary burden of establishing a prima facie case of negligence. Accordingly, Richards

requests this Honorable Court grant its Motion for Summary Judgment and dismiss Plaintiff’s

negligence claim.

        D.     PLAINTIFF IS UNABLE TO ESTABLISH CAUSATION WHICH IS
               FATAL TO HER CLAIM FOR BREACH OF WARRANTY

        To state a claim for breach of the implied warranty of merchantability, a plaintiff must

allege (1) that a merchant sold goods, (2) which were not "merchantable" at the time of sale, (3)



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injury and damages to the plaintiff or its property, (4) which were was caused proximately and in

fact by the defective nature of the goods, and (5) notice to the seller of injury. Marcus v. BMW of

N. Am., LLC, 687 F.3d 583 (3d Cir. 2012). A claim for breach of express warranty similarly

requires proof of proximate cause. Id. Proximate cause and damages are, of course, necessary for

a breach of express warranty verdict. Id. As with all cases involving breach of warranty, the

plaintiff is charged with the burden of proving that the defendant’s breach is the proximate cause

of the harm suffered. AM/PM Franchise Ass’n v. Atlantic Richfield Co., 584 A.2d 915, 923 (Pa.

1990).

         Because Plaintiff has failed to proffer sufficient evidence as to proximate causation,

pursuant to this Court granting Richards’ Daubert Motion, Plaintiff is unable to meet her

evidentiary burden in establishing a breach of warranty. Given that proving proximate causation

is a requirement of establishing a bread of warranty, Plaintiff’s claim for breach of warranty must

fail. Accordingly, Richards requests that this Honorable Court grant its Motion for Summary

Judgment and dismiss Plaintiffs breach of warranty claim.

IV.      CONCLUSION

         For the forgoing reasons, Richards Homewares, Inc. respectfully requests this Court grant

its motion for Summary Judgment as to all counts of Plaintiff’s Complaint.

                                                       Respectfully submitted,

Dated: June 24, 2022                                   GOLDBERG SEGALLA LLP

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                                 CERTIFICATE OF SERVICE

        I, Sean T. Stadelman, Esquire, hereby certify that on this 24th day of June 2022, a true and

correct copy of the foregoing motion and supporting documents were served upon all counsel and

parties of record via the Court’s ECF System and/or U.S. First Class Mail, postage prepaid, and/or

via e-mail.

                                                      GOLDBERG SEGALLA LLP

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                                                      Sean T. Stadelman, Esq. (ID: 201636)
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Dated: June 24, 2022




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